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BART M. DAVIS, IDAHO STATE BAR NO. 2696
UNITED STATES ATTORNEY
FRANCIS J ZEBARI, IDAHO STATE BAR NO. 8950
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF IDAHO
1290 W. MYRTLE ST. SUITE 500
BOISE, ID 83702-7788
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-1413




                               UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                   Case No. 1:20-MJ-00293-REB
                  Plaintiff,
                                                   MOTION FOR DETENTION
           vs.

 LIAM MONTGOMERY COLLINS,

                  Defendant.


       The United States, by and through Bart M. Davis, United States Attorney for the District

of Idaho, and the undersigned Assistant United States Attorney for the District of Idaho, pursuant

to 18 U.S.C. § 3142(e) and (f), requests the defendant’s detention pending trial.

       A detention hearing is authorized to determine whether any condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of any other person and the community because this case involves a

circumstance outlined in 18 U.S.C. § 3142(f)(1):

       (     )   The defendant is charged with a crime of violence, as defined in 18 U.S.C.

§ 3156.

MOTION FOR DETENTION - 1

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       (   )     The defendant is charged with Sex Trafficking of Children in violation of 18

U.S.C. § 1591.

       (   )     The defendant is charged with Acts of Terrorism Transcending National

boundaries in violation of 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of

imprisonment is ten years or more.

       (   )     The defendant is charged with an offense for which the maximum sentence is life

imprisonment or death.

       (   )     The defendant is charged with an offense for which a maximum term of

imprisonment of ten years or more is prescribed in the Controlled Substances Act (21 U.S.C.

§ 801 et seq.), the Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.), or the

Maritime Drug Law Enforcement Act (46 U.S.C. App. § 1901 et seq.).

       (   )     The defendant is presently charged with a felony and has been convicted of two or

more offenses described above, or two or more State or local offenses that would have been

offenses described above if a circumstance giving rise to federal jurisdiction had existed, or a

combination of such offenses.

       ( x ) The defendant is charged with a felony that is not a crime of violence, but that

involves: a minor victim, possession or use of a firearm or destructive device (as those terms are

defined in 18 U.S.C. § 921) or any other dangerous weapon, or the failure to register under 18

U.S.C. § 2250 (as required by the Sex Offender Registration and Notification Act).

       A detention hearing is authorized to determine whether any condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of any other person and the community because this case involves a

circumstance outlined in 18 U.S.C. § 3142(f)(2):



MOTION FOR DETENTION - 2

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         ( x ) a serious risk exists that defendant will flee.

         ( x ) a serious risk exists that defendant will obstruct or attempt to obstruct justice, or

threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective witness

or juror.

         (    ) There is a statutory rebuttable presumption that no condition or combination

of conditions will reasonably assure the safety of any other person and the community

because all of the following exist:

         1.       This case involves a situation described in 18 U.S.C. § 3142(f)(1), as set forth

above;

         2.       The defendant has been convicted of a federal offense that is described in

§ 3142(f)(1), or of a state or local offense that would have been an offense described in

§ 3142(f)(1) if a circumstance giving rise to federal jurisdiction had existed;

         3.       The federal, state or local offense for which the defendant was convicted was

committed while the defendant was on release pending trial for a federal, state or local offense;

and

         4.       A period of not more than five years has elapsed since the date of conviction, or

the release of the defendant from imprisonment, for the federal, state or local offense for which

the defendant was convicted, whichever is later.

         (    )   There is a statutory rebuttable presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community because there is probable cause that the

defendant committed:




MOTION FOR DETENTION - 3

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       (    )    an offense for which a maximum term of imprisonment of ten years or more is

prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-865), the Controlled Substances

Import and Export Act (21 U.S.C. §§ 951-971), the Maritime Drug Law Enforcement Act,

chapter 705 of Title 46.

       (    )    an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b.

       (    )    an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of

imprisonment is ten years or more.

       (    )    an offense under chapter 77 of Title 18, United States Code, (Peonage, Slavery,

and Trafficking in Persons) for which a maximum term of imprisonment of twenty years or more

is prescribed.

       (    )    an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242,

2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2),

2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or 2425.

       The government alleges that, based on the following factors to be considered by the court

set out in 18 U.S.C. § 3142(g), there are no conditions of release that will reasonably assure the

appearance of the defendant as required and/or the safety of any other person and the

community:

       1.        The nature and circumstances of the offense charged, including whether the

offense is a crime of violence, a violation of 18 U.S.C. § 1591 (sex trafficking of children), a

federal crime of terrorism, or involves a minor victim or a controlled substance, firearm,

explosive or destructive device;

       2.        The weight of the evidence against the defendant;

       3.        The history and characteristics of the defendant, including:



MOTION FOR DETENTION - 4

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                       a.      the defendant’s character, physical and mental condition, family

ties, employment, financial resources, length of residence in the community, community ties,

past conduct, history relating to drug or alcohol abuse, criminal history, and record concerning

appearance at court proceedings; and

                       b.      whether, at the time of the current offense or arrest, the defendant

was on probation, on parole, or on other release pending trial, sentencing, appeal, or completion

of sentence for an offense under federal, state or local law; and

        4.      The nature and seriousness of the danger to any person or the community that

would be posed by the defendant’s release.

        For these reasons, the government requests that the defendant be detained pending trial in

this case.

        Respectfully submitted this 21st day of October, 2020.

                                                   BART M. DAVIS
                                                   UNITED STATES ATTORNEY
                                                   By:

                                                  /s/ Francis J. Zebari
                                                  _______________________________________
                                                   FRANCIS J ZEBARI
                                                   Assistant United States Attorney




MOTION FOR DETENTION - 5

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